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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION




L.R.,

        Plaintiff,

v.                                                         4:19cv349–WS/MAF

LEON COUNTY SCHOOLD BOARD,
et al.,

        Defendants.



                 ORDER ADOPTING THE MAGISTRATE JUDGE’S
                     REPORT AND RECOMMENDATION

        Before the court is the magistrate judge's report and recommendation (ECF

No. 17) docketed August 27, 2020. The magistrate judge recommends that the

plaintiff's case be dismissed for failure to state a claim upon which relief may be

granted. The plaintiff has filed no objections to the report and recommendation.

        Having reviewed the record, the court finds that the magistrate judge’s

report and recommendation is due to be adopted.

        Accordingly, it is ORDERED:

        1. The magistrate judge’s report and recommendation (ECF No. 17) is
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hereby ADOPTED and incorporated by reference in this order.

      2. The defendant’s motion (ECF No. 9) to dismiss the plaintiff’s complaint

is GRANTED.

      3. The plaintiff's complaint and this action are DISMISSED for failure to

state a claim upon which relief may be granted.

      4. The clerk shall enter judgment stating: "All claims are dismissed with

prejudice."

      5. The clerk shall close the case.

      DONE AND ORDERED this                2nd   day of   October     , 2020.




                                 s/ William Stafford
                                 WILLIAM STAFFORD
                                 SENIOR UNITED STATES DISTRICT JUDGE
